             Case 2:11-cr-00070-RAJ Document 159 Filed 05/12/15 Page 1 of 4




1                                                              The Honorable Richard A. Jones
2
3
4
5
6
7                          UNITED STATES DISTRICT COURT FOR THE
                             WESTERN DISTRICT OF WASHINGTON
8
                                       AT SEATTLE
9
10
      UNITED STATES OF AMERICA,
11                                                      NO. CR11-0070RAJ
                            Plaintiff,
12
                      v.                                GOVERNMENT’S EXHIBIT LIST
13                                                      FOR EVIDENTIARY HEARING ON
14                                                      DEFENDANT’S MOTION TO
      ROMAN V. SELEZNEV,
                                                        DISMISS THE INDICTMENT
15
                            Defendant.
16
17
            The United States of America, by Annette L. Hayes, United States Attorney for
18
     the Western District of Washington, and Norman M. Barbosa and Seth Wilkinson,
19
     Assistant United States Attorneys for said District, and Ethan Arenson, Trial Attorney,
20
     Computer Crimes and Intellectual Property Section, hereby submits the following list of
21
     exhibits it intends to introduce at the hearing on defendant’s motion to dismiss the
22
     indictment:
23
            1.     E-mails between Dennis Lashinsky and Hussain Waheed, dated July 3,
24
                   2014, 11:17 a.m. – 12:34 p.m. - subject “Expulsion Operation.”
25
            2.     E-mail and attachments from Dennis Lashinsky to Hussain Waheed and
26
                   Rana Waheed, subject “Arrest Warrant for Fugitive in Maldives” dated July
27
                   3, 2014 8:13 p.m.
28

     GOVERNMENT’S EXHIBIT LIST FOR HEARING ON DEFENDANT’S                  UNITED STATES ATTORNEY
                                                                          700 STEWART STREET, SUITE 5220
     MOTION TO DISMISS THE INDICTMENT/CR11-0070RAJ
                                                                            SEATTLE, WASHINGTON 98101
     Seleznev - Page 1                                                            (206) 553-7970
            Case 2:11-cr-00070-RAJ Document 159 Filed 05/12/15 Page 2 of 4




1          2a.   Diplomatic Note from the Embassy of the United States of America to the
2                Ministry of Foreign Affairs of the Republic of Maldives
3          2b.   Arrest Warrant
4          2c.   Seleznev_Photo.jpg
5          2d.   Seleznev_Photo_Thailand_2007-2008
6          3.    Photograph of Maldives Immigration Record
7          4.    E-mail from Mark Smith to Dennis Lashinsky, July 4, 2014, 3:56pm
8          5.    E-mail from Mark Smith to Dennis Lashinsky, July 4, 2014, 8:04pm
9          6.    E-mail from Mark Smith to “All” Regarding Red Notice, July 5, 2014,
10               5:55am
11         7.    Interpol Red Notice for Roman V. Seleznev – Published July 5, 2014
12         8.    Photographs of Roman Seleznev at airport
13         9.    Photograph of Special Agent in Charge David Iacovetti and Maldives
14               Police official
15         10.   Photograph of Roman Seleznev in Male Airport Police Station
16         11.   Photograph of Roman Seleznev on Flight to Guam
17         12.   Photographs of Roman Seleznev upon arrival in Guam
18         13.   Consular Notification
19         14.   Roman V. Seleznev Russian Passport
20         15.   Report of Investigation, Special Agent Mark J. Smith
21         16.   Report of Investigation, Special Agent Daniel Schwandner
22         17.   Executed Arrest Warrant
23         18.   News Article: Maldives Followed Due Procedure in Arresting Hacker,
24               Says President, Haveeru Online Edition, Published July 10, 2014
25         DATED this 13th day of May, 2015.
26                                          ANNETTE L. HAYES
                                            United States Attorney
27
28                                          s/ Norman Barbosa

     GOVERNMENT’S EXHIBIT LIST FOR HEARING ON DEFENDANT’S                UNITED STATES ATTORNEY
                                                                        700 STEWART STREET, SUITE 5220
     MOTION TO DISMISS THE INDICTMENT/CR11-0070RAJ
                                                                          SEATTLE, WASHINGTON 98101
     Seleznev - Page 2                                                          (206) 553-7970
            Case 2:11-cr-00070-RAJ Document 159 Filed 05/12/15 Page 3 of 4




1                                         NORMAN BARBOSA
                                          Assistant United States Attorney
2
3                                         s/ Seth Wilkinson
4                                         SETH WILKINSON
                                          Assistant United States Attorney
5
6                                         United States Attorney’s Office
                                          700 Stewart Street, Suite 5220
7                                         Seattle, Washington 98101-1271
                                          Telephone: (206) 553-7970
8
                                          Email: Norman.Barbosa@usdoj.gov
9                                         Email: Seth.Wilkinson@usdoj.gov
10
                                          s/ Ethan Arenson
11                                        ETHAN ARENSON
12                                        Trial Attorney

13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     GOVERNMENT’S EXHIBIT LIST FOR HEARING ON DEFENDANT’S            UNITED STATES ATTORNEY
                                                                    700 STEWART STREET, SUITE 5220
     MOTION TO DISMISS THE INDICTMENT/CR11-0070RAJ
                                                                      SEATTLE, WASHINGTON 98101
     Seleznev - Page 3                                                      (206) 553-7970
             Case 2:11-cr-00070-RAJ Document 159 Filed 05/12/15 Page 4 of 4




1                                 CERTIFICATE OF SERVICE
2
            I hereby certify that on May 12th, 2015, I electronically filed the foregoing with the
3
     Clerk of the Court using the CM/ECF system, which will send notification of such filing
4
     to the attorney of record for Defendant.
5
6
7                                                      s/ Jennifer J. Witt
                                                       JENNIFER J. WITT
8                                                      Legal Assistant
9                                                      United States Attorney’s Office
                                                       700 Stewart Street, Suite 5220
10                                                     Seattle, Washington 98101-1271
11                                                     Phone: 206-553-2520
                                                       Fax: 206-553-2502
12                                                     E-mail: Jennifer.Witt@usdoj.gov
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

     GOVERNMENT’S EXHIBIT LIST FOR HEARING ON DEFENDANT’S                   UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     MOTION TO DISMISS THE INDICTMENT/CR11-0070RAJ
                                                                             SEATTLE, WASHINGTON 98101
     Seleznev - Page 4                                                             (206) 553-7970
